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  6                       IN THE UNITED STATES DISTRICT COURT
  7                            FOR THE DISTRICT OF ARIZONA
  8
  9   IN THE MATTER OF:                                No. CV-14-02487-PHX-SRB
 10   Beverley Buckley,                                ADV NO. Adv. No. 2:13-ap-950-GBN
 11                        Debtor.
                                                       Prev. Court. No. 2:12-19495-GBN
 12   Roy Zeagler,
                                                       ORDER
 13                        Appellant,
 14   v.
 15   Quinton Buckley,
 16                        Appellee.
 17
 18            On January 15, 2015, Appellant filed a Motion to Withdraw Appeal. As of this
 19   date, no responsive memorandum has been filed. Local Rule of Civil Procedure 7.2(i)
 20   provides in part “if the unrepresented party or counsel does not serve and file the required
 21   answering memorandum, . . . such noncompliance may be deemed a consent to the denial
 22   or granting of the motion and the Court may dispose of the motion summarily.” Pursuant
 23   to this rule, the Court deems Appellee’s failure to serve and file the required answering
 24   memorandum a consent to the granting of the Appellant’s Motion to Withdraw Appeal.
 25            IT IS ORDERED granting Appellant’s Motion to Withdraw Appeal. (Doc. 7)
 26   ///
 27   ///
 28   ///



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  1         IT IS FURTHER ORDERED denying as moot Appellee’s Motion to Dismiss.
  2   (Doc. 4)
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  4         Dated this 3rd day of February, 2015.
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